5@a§§l: 05- -c\/- 01115- .]DT- STA Document 4 Filed 05/12/05 Page 1 of 3 Page|D 1

€"(PQ /9{@ op

§§0>§\@_ 1N THE UNITED STATES DISTRICT coUR'r

USJV

    
   
    
      
  
  
   
  

FOR THE WESTERN DISTRICT OF TENNESSEE QF

EASTERN DIVISION

 
 
 
    

REX wILSON,

(Arising
Petitioner,

_ 5 v
cr. . -03-10032-T 19qu
V.

UNITED STATES OF AMERICA,

Respondent,

©©|| ii MOTION FOR LEAvE To UPPLEMENT

TITLE 28 U.S.C. 255 MOTION

And Now, Comes the petitioner Rex Wilson, by and through pro-se,

and pursuant to Rule l , Fed.R. v.P. respectfully moves the Honorable

Court to supplement is Titl 28 U.S.C. § 2255 Motion.

On January l2, 2005, e Supreme Court of the United States handed

down the long awaited d ision in United States vs. Booker and United

States vs. FanFan, 54 U.S. (2005). This decision was rendered

     
   
  
   
 

shortly before the iled, pending 28 U.S.C. § 2255 Motion. The

petitioner has r earched the Supreme Courts decision in Booker finding

that it, and e dictates of Blakely Vs. Washington, 5&3 U.S. (200&)

apply in th's case. lt is paramount that the issues as "more fully

 

set forth', in the accompanying supplemental motion begg&§beduat this

 

time in the interests of justice in this case. The g§§§rhmenf wi§§
z_C;-U
not b prejudiced if the Court consider the applicab§ c_>r:]:§:of§:‘z;;he

`ozm
Book r and FanFan decision to this case as more full§o§§§`fo:mh in
_L`D
the attached supplemental motion. The petitioner believes Ehatcthe

al egations of his original 28 U. S. C. § 2255 Motion will be substan-

ti lly clarified by allowing the attached supplsMQ-[!q 'GBANTED

Thlsdoo\mmmmdonmododutdmthoomplhnoo DATE:

mmnu»asoworaz¢b)momonM %\(A 5

UJames D. Todd
U.U S District Judge \)\

 

Case 1:05-cv-01115-.]DT-STA Document 4 Filed 05/12/05 Page 2 of 3 Page|D 2
Section 2242 of the Judicial Code provides that habeas corpus
applications "may be amended or supplemented as provided in the
rules of procedure to civil actions," ld. 28 U.S.C. § 22&2.1
Wherefore, the petitioner respectfully asks the Honorable
Court to allow him to supplement the pending motion to vacate,

correct, or set aside pursuant to 28 U.S.C. § 2255, with the at-

tached supplemental motion
Dated this let day of April, 2005.

Respectfully Submitted

w"é'm
Rex ilson
#1 55'076
Pro-Se
Federal Correctional Institute
PMB 1000

Talladega, Alabama 35160

l. Likewise, Rule ll of the Rules Governing § 225& cases
provides that "[T]he Federal Rules of Civil Procedure, to the extent
that they are not inconsistent with these rules, may be applied,
when appropriate, to the petitions filed under these rules." [T]he
Advisory Committee Note to Habeas Rule 5 points our, in turn, that

"under [Habfas] Rule ll the Court is given the discretion to
incorporat Federal Rules of Civil Procedure when appropriate"
so civil rule 15 may be used to allow the petitioner to supplement
his motion to vacate based on the Booker and FanFan decision.

See, R. Hertz and J.S. Liebman, Federal Habeas Corpus Practice
and Procedure, §l7.2 (hth ed. 1998).

 

UNITSTED`ATES DISTRICT C URT - WESTENR D"ISRICT oF TNNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-011]5 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listed.

 

 

ReX Wilson

FCI Talladega

# 1905 5-07

PMB 10007 Unit Delta-B
Talladega, AL 3 5160

USA

7

Honorable J ames Todd
US DISTRICT COURT

